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                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES

Date: July 14, 2015                   Time in Court: 19 Minutes               Judge: BETH LABSON FREEMAN
Case No.: 15-cr-00226-BLF-1 Case Name: UNITED STATES v. Douglas Stroms York

Attorney for Plaintiff: Brianna Penna
                        Jeff Schenk
Attorney for Defendant: Graham Archer

 Deputy Clerk: Tiffany Salinas-Harwell                            Court Reporter: Summer Fisher
                                                                  9:14 – 9:33
 Interpreter: n/a                                                 Probation Officer: n/a


                                     PROCEEDINGS
Status Hearing held.
Counsel for Plaintiff and Defendant Present.
Defendant Present out of custody.

Pre-Trial Conference set for 07/16/2015 is Vacated.
Jury Trial set for 07/20/2015 is Vacated.

CASE CONTINUED TO: 07/21/2015 at 9:00 for Further Status.

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EXCLUDABLE DELAY: Effective Preparation of Counsel.
Begins: 07/14/2015
Ends: 07/21/2015
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                                                                                                     July 14, 2015



                                                                                     Tiffany Salinas-Harwell
                                                                           Courtroom Deputy to the Honorable
                                                                                       Beth Labson Freeman
